      Case 2:19-cr-00113-SM-MBN Document 22 Filed 07/22/19 Page 1 of 1


                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA


 UNITED STATES OF AMERICA                                        CRIMINAL ACTION
 VERSUS                                                          NO: 19-113
 MARTHA BUEZO MARTINEZ                                           SECTION: “E”


              NOTICE OF PRETRIAL CONFERENCE AND JURY TRIAL

      PHOTO IDENTIFICATION REQUIRED TO ENTER THE BUILDING

Take Notice that this criminal case has been set for jury trial on August 26, 2019 at 9:00
a.m. before Judge Susie Morgan, 500 Poydras St., New Orleans, LA. A pre-trial
conference will be held on August 6, 2019 at 1:00 p.m.

PERSONS ON BOND MUST REPORT TO THE DEPUTY U.S. MARSHAL
IMMEDIATELY   OUTSIDE   THE   AFORESAID    COURTROOM  FOR
EVALUATION AND SEARCH 15 MINUTES PRIOR TO APPEARANCE.


Date: July 22, 2019                              WILLIAM W. BLEVINS, CLERK

                                                 by: Brad Newell, Deputy Clerk

TO:

Martha Buezo Martinez (BOND)                     AUSA: Duane A. Evans, T.A.

COUNSEL FOR MARTHA BUEZO                         U.S. Marshal
MARTINEZ:
Samuel Scillitani, FPD                           U.S. Probation & Pre-Trial Services Unit

                                                 IRS - Criminal Investigation: John.Parrozzo,
                                                 SA
                                                 John.Parrozzo@ci.irs.gov


                                                 Interpreter: NONE


                                                 If you change address,
                                                 notify clerk of court
                                                 by phone, 504-589-7714
